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                                      DECLARATION OF KT THIESSEN

              I, KT Thiessen, declare under penalty of peijury under the laws of the United States of


     America that the following is true and correct


              1.   I was retained to work at GS Labs as an assistant site manager for its COVID-19


                   testing operation in Lee's Summit, Missouri.


          ^   2,   I worked for GS Labs in Lee's Summit as an independent contractor approximately


                   from early December of 2020 to January of 2021.


              3.   At least well into January 2021 the facility was constantly short staffed. On one


                   occasion Gabe Sullivan, an owner of GS Labs, told me to hire anyone who showed up


                   and to pay them $23 per hour irrespective of their qualifications. He instructed me not


                   to perform any background checks on these hires. Many of these people went on to be


                   hired and then fired. I understand many of these people did not get paid even though


                   they worked for over a week.

              4.   During my time working at GS Labs, PGR, antigen, and antibody testing was


                   administered. At some point, I believe it was December 23, 2020, we stopped doing


                   PCR testing and only did antibody and antigen testing.


              5.   For insured customers, GS Labs management instructed me and other staff that


                   company policy was to collect samples for all available tests unless the person being


                   tested refused. Nurses were given scripts to use with customers and told to read the


                   script without stopping to ask for questions or consent and then immediately perform


                   all testing available.




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             6,   On one occasion management from Omaha emailed us a spreadsheet showing a


                  number of insured customers that got antigen but not antibody tests. They said that


                  this was "unacceptable" and made it clear that we had to administer all tests available


                  to insured people.


             7.   When GS Labs was accepting out of pocket customers, GS Labs management


                  instructed me that the company's policy was to administer only one test for out of


                  pocket customers, almost always an antigen test, unless the customer affirmatively


                  asked for several tests.


             8. I observed many serious problems with the administration of COVID-19 tests and


                  delivery of results at GS Labs,


             9.   For instance, for a time the antigen and antibody testing on samples was done in the


                  RV next to the main building. On several occasions (my best recollection is between


                  five and ten times) tests were performed when the RV was very cold - below room


                  temperature. After the lab was moved out of the RV and into the former Pizza Hut


                  building, on at least one occasion the room where the samples were tested became


                  very hot - above normal room temperature.


             10. 1 observed many instances - at least weekly and potentially more - where one


                  person's results were mixed up with another person's results. On many occasions one


                  person's results were mixed up and placed in the wrong person's file. Other times,


                  incorrect results were accidently marked on the records. Customers called frequently


                  about results not being sent on all three types of tests or the wrong person's results


                  being delivered.




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            I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE


    AND CORRECT



    Executed on December   } 2021




       KT Thiessen




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